      Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 1 of 32




IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

VERTICAL BRIDGE REIT, LLC, et al.

            Plaintiffs,                 No. 2:23-cv-1017-WSH
     v.
                                        Judge W. Scott Hardy
EVEREST INFRASTRUCTURE
PARTNERS, INC.; EIP HOLDINGS II, LLC,

            Defendants.


            MEMORANDUM OF LAW IN SUPPORT OF EVEREST’S
             MOTION TO DISMISS THE AMENDED COMPLAINT
            Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 2 of 32


                                                   TABLE OF CONTENTS

                                                                                                                                         Page


INTRODUCTION ......................................................................................................................... 1
STATEMENT OF FACTS ............................................................................................................ 4
                     A.         Vertical Bridge Concedes Tower Aggregation Is A “Legitimate”
                                Practice. ...................................................................................................... 4
                     B.         Vertical Bridge’s Rent Terms Cannot Be “Trade Secrets” Because
                                They Have Spent Time In The Hands Of Third Parties With Every
                                Right To Disclose Them. ........................................................................... 5
                     C.         Vertical Bridge Does Not Dispute That “Legitimate” Tower
                                Aggregators Get Access To The Exact Same Information As
                                Everest........................................................................................................ 7
                     D.         Vertical Bridge Alleges That Everest Makes “Illusory” Promises
                                To Landowners But Also Confirms That Everest Can Fulfill Those
                                Promises. .................................................................................................... 8
STANDARD OF REVIEW ........................................................................................................... 9
ARGUMENT ............................................................................................................................... 10
          I.         VERTICAL BRIDGE’S TRADE SECRET CLAIMS MUST BE
                     DISMISSED ........................................................................................................ 10
                     A.         Vertical Bridge’s Trade Secret Claims All Fail Because All Of Its
                                Rent Terms Have Spent Time In The Hands Of Third Parties With
                                Every Right And Incentive To Share Them. ........................................... 11
                     B.         The Rent Terms Are Not Trade Secrets Because They Are Readily
                                Available Via Permissible Means. ........................................................... 14
                     C.         Vertical Bridge’s Rent Terms Cannot Be Trade Secrets If They
                                Were Not Developed Using Vertical Bridge’s “Confidential
                                Formula.” ................................................................................................. 15
                     D.         If Any Trade Secret Claims Survive, The Landowners Must Be
                                Joined As Necessary Parties Pursuant To FRCP 19. ............................... 16
          II.        VERTICAL BRIDGE’S LANHAM ACT CLAIMS MUST BE
                     DISMISSED ........................................................................................................ 17
                     A.         Vertical Bridge Fails To Allege Any “Description Of Fact” Or
                                “Representation Of Fact,” Let Alone A “False” One. ............................. 17
                     B.         Vertical Bridge Does Not Allege That The “Scheme” Has Ever
                                Actually Happened................................................................................... 19
                     C.         Vertical Bridge’s Own Allegations Confirm That Everest’s
                                Alleged Contractual Duties Are Not “Knowingly False.” ....................... 21


                                                                       i
            Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 3 of 32


                                                  TABLE OF CONTENTS
                                                       (continued)
                                                                                                                                  Page


                     D.         Vertical Bridge Still Does Not Allege Any False Statements In
                                Connection With Goods Or Services. ...................................................... 23
          III.       VERTICAL BRIDGE’S STATE LAW CLAIMS MUST BE DISMISSED
                     BECAUSE THEY ARE PREDICATED ON ITS TRADE SECRET AND
                     LANHAM ACT CLAIMS ................................................................................... 24
CONCLUSION ............................................................................................................................ 25




                                                                    ii
            Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 4 of 32




                                               TABLE OF AUTHORITIES

                                                                                                                                  Page

CASES

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...........................................................................................................10, 22

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) .............................................................................................................9, 10

Burtch v. Milberg Factors, Inc.,
   662 F.3d 212 (3d Cir. 2011).....................................................................................................10

Epsilon Energy USA, Inc. v. Chesapeake Appalachia, LLC,
   80 F.4th 223 (3d Cir. 2023) .................................................................................................2, 17

Dille Fam. Tr. v. Nowlan Fam. Tr.,
    No. 15-6231, 2016 WL 7202073 (E.D. Pa. Apr. 21, 2016) .................................................4, 24

EMC Outdoor, LLC v. Stuart,
  No. 17-5172, 2021 WL 1224064 (E.D. Pa. Mar. 31, 2021) ....................................................10

Grayson v. Mayview State Hosp.,
   293 F.3d 103 (3d Cir. 2002).....................................................................................................10

Hirtle Callaghan Holdings, Inc. v. Thompson,
   No. 18-2322, 2022 WL 2048656 (E.D. Pa. June 7, 2022) .......................................................25

Max Daetwyler Corp. v. Input Graphics, Inc.,
  608 F. Supp. 1549 (E.D. Pa. 1985) ..........................................................................................21

Nicolo v. Patterson Belknap Webb & Tyler, LLP,
   No. 2:13-cv-706, 2016 WL 5661737 (W.D. Pa. Sept. 30, 2016) ............................................15

Oakwood Labs. LLC v. Thanoo,
   999 F.3d 892 (3d Cir. 2021).........................................................................................10, 11, 12

Pittsburgh Logistics Sys., Inc. v. Cox Logistics LLC,
    No. 20-817, 2021 WL 811394 (W.D. Pa. Mar. 3, 2021) .........................................................25

Registered Agent Sols., Inc. v. Corp. Serv. Co.,
   No. 1:21-cv-786-SB, 2022 WL 911253 (D. Del. Mar. 28, 2022) ......................................18, 21
            Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 5 of 32




Ruckelshaus v. Monsanto Co.,
   467 U.S. 986 (1984) ...........................................................................................................11, 13

Shire US, Inc. v. Allergan, Inc.,
    375 F. Supp. 3d 538 (D.N.J. 2019) ..........................................................................................25

SI Handling Sys., Inc. v. Heisley,
    753 F.2d 1244 (3d Cir. 1985)...............................................................................................2, 11

Whitaker v. Herr Foods, Inc.,
   198 F. Supp. 3d 476 (E.D. Pa. 2016) .......................................................................................25

STATUTES

12 Pa. Cons. Stat. § 5302 ...........................................................................................................2, 15

15 U.S.C. § 1125 ..................................................................................................................3, 17, 19

18 U.S.C. § 1839 ........................................................................................................................2, 15

OTHER AUTHORITIES

Federal Rule of Civil Procedure 8 .................................................................................................21

Federal Rule of Civil Procedure 9 .................................................................................................21

Federal Rule of Civil Procedure 12 ...........................................................................................1, 25

Federal Rule of Civil Procedure 19 .....................................................................................2, 16, 17




                                                                     iv
         Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 6 of 32




                                         INTRODUCTION

        The Court dismissed Vertical Bridge’s original complaint (ECF # 1, “Compl.”) for failure

to include, as necessary parties, its affiliated entities (“VB Affiliates”) that are signatories to the

cell tower ground leases that form the basis of this litigation (“VB Contracts”). ECF # 36. The

Court also advised Vertical Bridge that it was “a bit skeptical that some, if not all of the claims

that are alleged in the [original] compliant [were] sufficiently pled.” ECF # 37 (“1/9/24 Hr’g

Tr.”) at 47:10–12. In its amended complaint (ECF # 38, “Am. Compl.”), Vertical Bridge has

added VB-Affiliates as plaintiffs and tried to fix its numerous other pleading deficiencies. But

instead the amended complaint reveals why the initial complaint was so vague: The new

allegations confirm that Vertical Bridge has no claims. This case remains a ham-fisted attempt

to stifle competition and restrict property rights by making a federal case out of lawful

competition. Further amendment would be futile, and the amended complaint should be

dismissed with prejudice pursuant to Federal Rules of Civil Procedure 12(b)(6) and 12(b)(7).

        Trade Secret Claims. The amended complaint adds fatal concessions that doom

Vertical Bridge’s trade secret claims. For instance, Vertical Bridge now concedes that it does

not require landowners to sign non-disclosure agreements (NDAs) before making offers to them

that contain the purported “trade secrets”; instead it “[v]erbally inform[s]” landowners that the

proposed rent terms are a secret. Am. Compl. ¶ 39. But Vertical Bridge cannot unilaterally

impose an obligation of secrecy on landowners (which Vertical Bridge implicitly acknowledges

by emphasizing its own “attempts” to amend VB Contracts it acquires from third parties to add

confidentiality clauses). Id. ¶ 29. Vertical Bridge could insist on execution of NDAs before

sharing its “trade secrets,” but the amended complaint confirms that Vertical Bridge’s

landowners undertake no binding obligation during the negotiation phase. For this reason alone,

none of Vertical Bridge’s rent terms can be trade secrets because they have all “already [been] in

                                                   1
           Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 7 of 32




the hands of third parties . . . who have every incentive, and every right to disclose” them. SI

Handling Sys., Inc. v. Heisley, 753 F.2d 1244, 1257 (3d Cir. 1985).

          As another example, Vertical Bridge has been forced to acknowledge that certain VB

Contracts were acquired from unrelated third parties, but it does not plead any facts to support

the contention that those terms were ever a predecessor’s trade secrets, including any allegations

that the predecessors took any steps to keep the terms secret or what those steps might have been.

          There are some things that Vertical Bridge’s amended complaint does not even try to

remedy. Both complaints have the unfixable problem that both Everest and “legitimate” ground

lease aggregators learn Vertical Bridge’s rent terms when they step into the landowner’s shoes

and start receiving the rent payments. That also ends the trade secret claims. See 18 U.S.C.

§ 1839(3)(B) (information can be a trade secret only where, among other things, it is “not . . .

readily ascertainable through proper means by, another person”); 12 Pa. Cons. Stat. § 5302

(same).

          Finally, the amended complaint places the landowners front and center by explicitly

claiming that they had, and violated, a duty to withhold the rent terms—which are critical to

value their property—from potential buyers. That means adjudicating Vertical Bridge’s trade

secret claims requires the Court to determine whether such restrictions are enforceable restraints

on the alienability of each absent landowner’s property under the law of the state of that

particular property. To the extent that any trade secret claims survive (and they should not),

Vertical Bridge’s landowners must be joined pursuant to FRCP 19(a)(1)(B)(i) so they have an

opportunity to protect their contract and property rights. C.f., Epsilon Energy USA, Inc. v.

Chesapeake Appalachia, LLC, 80 F.4th 223, 233 (3d Cir. 2023) (“parties owning rights under

disputed contracts . . . generally have a legally protected interest under Rule 19(a)(1)(B)(i)”).



                                                  2
         Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 8 of 32




       Lanham Act (False Advertising). Vertical Bridge’s claim remains predicated on a

“scheme” that has never happened and makes no sense. One thing is clear: Everest’s alleged

offer to Vertical Bridge’s landowners to “pay the Landlord the greater of either (1) 50% of

Everest’s revenue from any tenant . . . or (2) $30,000 per year” is not a “description of fact” or

“representation of fact” as required to state a false advertising claim under the Lanham Act, let

alone a false one. Am. Compl. ¶ 60 (emphasis removed); 15 U.S.C. § 1125(a)(1). No

formulation of Everest’s alleged promises of future performance can ever be a “description of

fact” or “representation of fact” as required by the Lanham Act. This alone is fatal.

       Like Vertical Bridge’s original complaint, the amended complaint is at war with itself

and common sense, describing an alleged “scheme” that is an irreparable mess of self-

contradictions. Vertical Bridge alleges that “Everest makes knowingly false and/or misleading

statements of fact to Landlords” by offering the greater of 50% of future tenant revenue or

$30,000 annually. Id. ¶¶ 60, 73. According to Vertical Bridge, this promise is false or

misleading because, Everest knows, there will be no revenue to share. Id. ¶ 53. Here comes the

fatal contradiction: Vertical Bridge expressly alleges that Everest makes these offers “because

Everest knows that . . . Everest will have the opportunity to substantially increase Vertical

Bridge’s rent payments, thereby recouping its initial payment to the Landlord and earning excess

revenue if Vertical Bridge remains at the site” or “[i]n the event that Vertical Bridge does not

remain at the site, Everest can attempt to take over Vertical Bridge’s relationships with its

Tenants remaining at the site.” Id. ¶ 59 (emphasis added). In both of these scenarios, Vertical

Bridge concedes there will be revenue to share: If Everest becomes Vertical Bridge’s landlord, it

will have tenant revenue to share, and if it “takes over Vertical Bridge’s” tenant relationships, it

will also have tenant revenue to share. Of course, if Everest “knows that” it may have future



                                                  3
         Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 9 of 32




revenue, it cannot be true that Everest knowingly makes false promises of a future revenue share.

It is rare, and remarkable, for a plaintiff to refute its own claims within the four corners of its

complaint. Yet that is exactly what the amended complaint does.

        Vertical Bridge also attempted to articulate “services” that Everest supposedly promises

to perform. See id. ¶ 46. But they all boil down to the acquisition of real property rights, which

are neither goods nor services under the Lanham Act. Dille Fam. Tr. v. Nowlan Fam. Tr., No.

15-6231, 2016 WL 7202073, at *1 n.1 (E.D. Pa. Apr. 21, 2016) (“Courts have consistently held

that intangible property rights,” like trademarks or the real property rights at issue, “are not

‘goods or services’ for Lanham Act purposes.”).

        Vertical Bridge will never be able to allege a coherent trade secret or false advertising

claim because the facts it has already alleged establish that there are no trade secrets and there

are no false advertisements. Vertical Bridge’s trade secret and Lanham Act claims should

therefore be dismissed with prejudice, as should its “related state-law claims” predicated on the

same facts and alleged conduct. See ECF # 33 at ¶ 2.

                                    STATEMENT OF FACTS

        A.     Vertical Bridge Concedes Tower Aggregation Is A “Legitimate” Practice.

        Vertical Bridge (specifically the VB Affiliates) own telecommunications towers and enter

into ground leases (the VB Contracts) with the owners of the property where their towers sit.

Am. Compl. ¶ 28. Vertical Bridge then leases space on the towers to wireless carriers like

Verizon and other tenants (“Tower Tenants”). Id. ¶ 22. The Tower Tenants pay rent to Vertical

Bridge, and Vertical Bridge in turn pays rent to the landowners pursuant to the VB Contracts. Id.

¶ 28.

        This basic business model is depicted below:



                                                   4
        Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 10 of 32




       Everest also owns towers and leases space to wireless carriers. Id. ¶ 49. Vertical

Bridge’s claims in this case focus on an alleged part of Everest’s overall business known as

“tower aggregation” or “tower land aggregation.” Id. ¶ 47. Tower aggregators approach the

owners of the property under other companies’ towers and offer to purchase the landowner’s

ground lease rights, namely the stream of rent paid by the tower owner. Id. ¶ 48. If the

landowner accepts, the tower aggregator steps into the shoes of the landowner “and receives the

monthly rent payments that the [tower owner] would have made to the landowner.” Id. “In so

doing, the tower aggregator receives a steady stream of income and the landowner exchanges

that stream for a one-time up-front payment.” Id.

       B.      Vertical Bridge’s Rent Terms Cannot Be “Trade Secrets” Because They
               Have Spent Time In The Hands Of Third Parties With Every Right To
               Disclose Them.

       In the original complaint, Vertical Bridge alleged that rent terms in unidentified VB

Contracts were trade secrets on the basis that it “utilizes a confidential formula to set the pricing

terms and pricing structure” and that the VB Contracts were subject to confidentiality provisions

contained in the VB Contracts. Compl. ¶¶ 30–31, 37, 62, 69, 81, 100, 114–115. Everest’s first

                                                  5
        Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 11 of 32




motion to dismiss attached the VB Contracts for the only Vertical Bridge sites where Everest had

acquired leasing rights (“Everest-VB Sites”), 1 forcing Vertical Bridge to acknowledge that (i) six

out of eight of the leases do not have confidentiality provisions and (ii) the same six were

acquired from third parties who negotiated their terms before Vertical Bridge even existed. ECF

# 22 (“Baltruzak Declaration”) at Exs. 1–6.

       At that point, Vertical Bridge deployed an “amendment by briefing” strategy, taking the

extraordinary position that its rent terms qualify for trade secret status even where the landowner

has no contractual obligation to keep the terms a secret and even where they are not the product

of Vertical Bridge’s “confidential formula.” ECF # 24 at 13–17. In the amended complaint,

Vertical Bridge has tried to plead that extreme position. The problem is that Vertical Bridge has

only clarified that all of the trade secrets have to be dismissed because they have all spent time in

the hands of third parties with every right to share them with whomever they wish.

       Start with the VB contracts without confidentiality provisions. For these, Vertical Bridge

claims that it “[v]erbally inform[s]” the landowners that the terms are confidential—but it does

not allege that the landowners ever agree not to disclose them. Am. Compl. ¶ 39(c). And

Vertical Bridge alleges that it “attempts to negotiate an amendment to each lease” to include

confidentiality provisions “[w]henever possible,” indicating that where a lease does not contain a

confidentiality provision, the landowner did not agree to that term (which it is free to do).

Id. ¶29. Of course, any leases that were amended to include a confidentiality provision have

necessarily spent time in the hands of third parties, the landowners, with every right and

incentive to share their rent terms to get a better deal. For example, Vertical Bridge alleges that




       1
          At the time there were only eight Everest-VB Sites. Since then, Everest has acquired
leasing rights on a ninth site. Everest will be happy to provide that new VB Contract upon request.
                                                  6
        Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 12 of 32




because Everest knows the rent terms, it is able to “craft an offer” for a “substantial lump-sum

payment at closing” plus “a going forward monthly rental rate that is five-to-ten times higher

than the current rent that Vertical Bridge pays.” Id. ¶¶ 55, 57–58.

       Vertical Bridge now also acknowledges (as it must) that it acquired the VB Contracts

without confidentiality provisions from unaffiliated third parties. Id. ¶ 39(b). But Vertical

Bridge does not allege anything to support its allegation that these terms ever qualified as trade

secrets in the first place, let alone that its predecessors took reasonable steps to maintain their

confidentiality before the contracts were acquired by Vertical Bridge.

       Now turn to the leases that have confidentiality provisions. Vertical Bridge originally

failed to plead any steps that it takes to keep those terms secret during negotiations before the

VB Contracts are executed. ECF # 21 (Everest’s original motion to dismiss) at 16. Vertical

Bridge now alleges that it “[d]esignat[es] offer letters to Landlords as ‘Confidential’” and

“[v]erbally inform[s] Landlords that Vertical Bridge’s offers are ‘confidential.’” Am. Compl.

¶ 39(d)–(e). But Vertical Bridge does not allege that the landowners agree to keep the offers

confidential.

       C.       Vertical Bridge Does Not Dispute That “Legitimate” Tower Aggregators Get
                Access To The Exact Same Information As Everest.

       In both complaints, Vertical Bridge acknowledges land tower aggregation is a

“legitimate” practice but claims Everest’s tower aggregation crosses the line from legitimate to

illegitimate because Everest learns the (allegedly trade secret) rent terms before purchasing

leasing rights rather than afterwards. Compl. ¶ 33; Am. Compl. ¶ 48.

       According to Vertical Bridge, “[l]egitimate” tower aggregators do not find out the rent

amount when they offer to purchase the landowner’s rent stream. Am. Compl. ¶ 48. Rather,

they “offer landowners lump sum-payments” based on the “tower aggregator’s estimation of the


                                                   7
        Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 13 of 32




market rent.” Id. (emphasis added). In other words, Vertical Bridge claims that a legitimate

tower aggregator buys a particular rent stream without actually knowing how much rent the

landowner receives each month based on a hope that the economics will work out for the

duration of a ground lease, which typically runs for “decades.” Id. ¶ 33.

       Vertical Bridge has never disputed that, after closing, the “legitimate” tower aggregators

end up with exactly the same information as Everest (both know the rent terms when the checks

start rolling in). See ECF # 21 at 5, 13-14; ECF # 25 (Everest’s original reply brief) at 6-7.

       D.      Vertical Bridge Alleges That Everest Makes “Illusory” Promises To
               Landowners But Also Confirms That Everest Can Fulfill Those Promises.

       In the original complaint, Vertical Bridge alleged that Everest makes “illusory” promises

in its contracts to share revenue from Tower Tenants with the landowners. Compl. ¶ 38. In the

amended complaint, Vertical Bridge clarifies that the alleged “illusory promise” is actually “to

pay the Landlord the greater of either (1) 50% of Everest’s revenue from any tenant—whether a

tower infrastructure company tenant or telecom carrier subtenant—who occupies the premises

following the expiration of the VB Contract or (2) $30,000 per year.” Am. Compl. ¶ 60

(emphasis removed).

       Vertical Bridge does not allege that Everest ever broke this promise by failing to pay a

landowner the greater of 50% of its tenant revenue or $30,000 per year. See generally id.

Rather, Vertical Bridge claims that the promise is “illusory” and “knowingly false” because

Everest “does not have any tenant leases in place at the time it makes its offer.” Id. ¶¶ 62, 73.

Standing alone, this allegation is nonsense: An offer to pay someone either a revenue share or a

minimum amount ($30,000) cannot deceptively suggest there will be no tenant revenue to share

because the structure of the alleged offer itself contemplates the possibility that there will be no

revenue to share (which would result in the payment of $30,000).


                                                  8
        Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 14 of 32




       After two tries, Vertical Bridge still does not identify any actual tower site subject to such

an illusory promise or allege any actual instances where Everest made such a promise. See

generally Compl. & Am. Compl. Neither complaint ever identifies any instance where the

numerous events required for the alleged “scheme” actually occurred, namely: (i) Everest made

the alleged promise to a landowner, resulting in (ii) Everest acquiring the ground lease under a

Vertical Bridge tower site, leading to (iii) Vertical Bridge refusing to renew the ground lease

after Everest acquired its interest, resulting in (iv) Vertical Bridge actually taking down its tower

and leaving the site, (v) but without Everest building its own tower on the site, resulting in

(vi) Everest having no revenue to share with the landowner. Am. Compl. ¶ 53.

       Vertical Bridge maintains its allegation from the original complaint that Everest’s offer is

“knowingly false.” Id. ¶ 73. Yet—to explain why Everest would agree to pay a “substantial”

sum up front and monthly rental payments “five-to-ten times higher” than the existing rate, id.

¶ 58—Vertical Bridge now concedes that Everest makes the offer “because Everest knows that

. . . Everest will have the opportunity to substantially increase Vertical Bridge’s rent payments,

thereby recouping its initial payment to the Landlord and earning excess revenue if Vertical

Bridge remains at the site” and “[i]n the event that Vertical Bridge does not remain at the site,

Everest can attempt to take over Vertical Bridge’s relationships with its Tenants remaining at the

site.” Id. ¶ 59 (emphasis added).

       Finally, Vertical Bridge alleges that it “has suffered . . . damages in the form of lost

market share” and “lost Tower sites.” Id. ¶ 78.

                                    STANDARD OF REVIEW

       The Court must dismiss a complaint if it fails to allege “enough facts to state a claim to

relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

Plausibility requires “more than a sheer possibility that a defendant has acted unlawfully,”

                                                  9
        Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 15 of 32




Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009), and dismissal is required if the factual allegations

fail “to raise a right to relief above the speculative level,” Twombly, 550 U.S. at 555. Vertical

Bridge must plead enough “factual content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. The Court must

dismiss a complaint that is “merely consistent with a defendant’s liability” if there are

insufficient facts to make that inference reasonable. Id. (citation omitted).

        Although the Court accepts well-pleaded allegations as true, the Court must “disregard

threadbare recitals of the elements of a cause of action, legal conclusions, and conclusory

statements.” Oakwood Labs. LLC v. Thanoo, 999 F.3d 892, 904 (3d Cir. 2021) (citation omitted).

The Third Circuit requires a three-step process to evaluate whether a complaint alleges sufficient

facts to state a facially plausible claim:

        First, the court must ‘tak[e] note of the elements a plaintiff must plead to state a
        claim.’ Second, the court should identify allegations that, ‘because they are no
        more than conclusions, are not entitled to the assumption of truth.’ Finally, ‘where
        there are well-pleaded factual allegations, a court should assume their veracity and
        then determine whether they plausibly give rise to an entitlement for relief.’

Burtch v. Milberg Factors, Inc., 662 F.3d 212, 221 (3d Cir. 2011) (citation omitted) (alteration in

original). Dismissal with prejudice is proper where amendment would be inequitable or futile.

Grayson v. Mayview State Hosp., 293 F.3d 103, 108 (3d Cir. 2002).

                                             ARGUMENT

I.   VERTICAL BRIDGE’S TRADE SECRET CLAIMS MUST BE DISMISSED

        The amended complaint makes plain that Vertical Bridge’s trade secret claims fail as a

matter of law and should be dismissed with prejudice. 2



        2
         Because the required elements for misappropriation under the Pennsylvania Uniform
Trade Secrets Act (PUTSA) are “substantively identical” to those under DTSA, Vertical Bridge’s
federal and state trade secret claims all fall together. See EMC Outdoor, LLC v. Stuart, No. 17-
                                                 10
        Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 16 of 32




       A.      Vertical Bridge’s Trade Secret Claims All Fail Because All Of Its Rent
               Terms Have Spent Time In The Hands Of Third Parties With Every Right
               And Incentive To Share Them.

       Trade secrets are “defined generally as information with independent economic value that

the owner has taken reasonable measures to keep secret.” Oakwood Labs., 999 F.3d at 905.

Information that “is already in the hands of third parties . . . who have every incentive, and every

right, to disclose it” is not entitled to trade secret protection. SI Handling, 753 F.2d at 1257; cf.

Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1002 (1984) (“If an individual discloses his trade

secret to others who are under no obligation to protect the confidentiality of the information, or

otherwise publicly discloses the secret, his property right [in the trade secret] is extinguished.”).

       The commonsense rule of SI Handling fits the amended complaint to a T and bars

Vertical Bridge’s trade secrets claims. The landowners have the rent terms and are clearly

incentivized to share them so that they can shop around for the best offer possible—for example,

Vertical Bridge alleges that, because Everest knows the rent terms, it is able to “craft an offer”

(Am. Compl. ¶ 55) for a “substantial lump-sum payment at closing” plus “a going forward

monthly rental rate that is five-to-ten times higher than the current rent.” Id. ¶¶ 57–58.

       In the original motion to dismiss, Everest explained that the SI Handling rule clearly bars

trade secret claims with respect to rent terms in any contracts that do not have confidentiality

provisions because those landowners indisputably have every right to disclose the terms to

whomever they wish. ECF # 21 at 14. With respect to contracts that do contain confidentiality

provisions, Everest explained that Vertical Bridge failed to plead sufficient information from

which the court could infer that it took reasonable steps to maintain the secrecy of its proposed

rent terms before the VB Contracts are executed. Id. at 16.


5172, 2021 WL 1224064, at *11 (E.D. Pa. Mar. 31, 2021) (analyzing DTSA and PUTSA claims
together and dismissing both).
                                                  11
        Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 17 of 32




        In the amended complaint, Vertical Bridge attempted to salvage its claims by alleging

that it (i) verbally informs landowners that the rent terms are confidential, (ii) amends contracts

acquired from third parties to incorporate confidentiality provisions, and (iii) designates offers

confidential. Am. Compl. ¶ 39(b)-(d). But Vertical Bridge has no authority to unilaterally

impose confidentiality on the landowners; nor can it take information that was already out in the

open and declare it to be a trade secret after the fact.

        As explained below, all of these measures are insufficient as a matter of law, and all of

Vertical Bridge’s trade secret claims should be dismissed for failure to take reasonable measures

to keep them secret. Oakwood Labs., 999 F.3d at 905. The court can—and should—dismiss all

of Vertical Bridge’s trade secrets with prejudice on this basis alone.

        VB Contracts Without Confidentiality Provisions. Vertical Bridge’s original trade

secret claims were predicated on confidentiality provisions in the VB Contracts at issue.

Compl. ¶¶ 30–31, 37, 62, 69, 81, 100, 114–115. Everest filed the VB Contracts for Everest-VB

Sites with the original motion to dismiss, showing that most of the leases for those sites do not

have confidentiality provisions. See ECF # 21 at 8-9; ECF # 22 at Exs. 1-6. Vertical Bridge then

took the extraordinary position in its opposition brief that its rent terms are entitled to trade secret

protection even if they are in the hands of landowners with every right and incentive to share

them with whomever they wish. See ECF # 24 at 13–17. The Court naturally expressed

skepticism at that position. 1/9/24 Hr’g Tr. at 47:17–22.

        Now Vertical Bridge alleges that rent terms contained in VB Contracts with no

confidentiality provisions are still protected because Vertical Bridge “[v]erbally inform[s]

Landlords that the pricing and price structure terms within their VB Contracts are confidential.”

Am. Compl. ¶ 39(c). That is insufficient. First of all, Vertical Bridge allegedly acquired the VB



                                                  12
        Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 18 of 32




Contracts without the confidentiality provisions from unaffiliated third parties. Id. ¶¶ 37, 39(b).

Vertical Bridge pleads no steps whatsoever that its predecessors took to keep these terms a

secret. Second, Vertical Bridge cannot unilaterally impose confidentiality on landowners

without their agreement. Vertical Bridge obviously knows that; otherwise it would not

“attempt[] to negotiate an amendment to each lease” to include confidentiality provisions

“[w]henever possible.” Id. ¶ 29. Where a VB Contract does not contain a confidentiality

provision, the third-party landowner has every right, and is incentivized, to share the rent

information with whomever they wish. These contracts cannot contain trade secrets.

       VB Contracts Amended to Include Confidentiality Provisions. Vertical Bridge now

claims that it “[a]mend[ed]” some, but presumably not all, “VB Contracts that Vertical Bridge

acquires from prior entities to include, inter alia, confidentiality provisions.” Id. ¶ 39(b). Of

course, Vertical Bridge has not identified any contracts that fit into this bucket. Even if this

allegation is true, it is not good enough.

       First of all, and as explained below, Vertical Bridge does not include sufficient

allegations to support its claim that the terms of these contracts—which were all acquired from

third parties—could ever have qualified as trade secrets. See page 15, infra. But assuming

arguendo that they could, their trade secret status was “extinguished” when they were

“disclose[d] . . . to others who are under no obligation to protect the confidentiality of the

information.” Ruckelshaus, 467 U.S. at 1002. Up until the time a new confidentiality provision

was added to a VB Contract, the landowner had the unconditional right to share the information

with whomever it wished. For that entire time, the cat was out of the bag, and Vertical Bridge

cannot “reignite” the trade secret status with an after-the-fact amendment. That is doubly true

here because Vertical Bridge does not allege any steps that its predecessors took to keep the rent



                                                 13
        Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 19 of 32




terms a secret before they were assigned to Vertical Bridge (which is, itself, fatal).

       VB Contracts With Confidentiality Provisions. In the original motion to dismiss,

Everest explained that the rent amounts could not be a trade secret because Vertical Bridge did

not allege any measures to keep its proposed rent amounts a secret during the negotiation process

before the VB Contract is executed. ECF # 21 at 16. In the amended complaint, Vertical Bridge

attempts to rectify the problem by pleading that it “[d]esignat[es] offer letters to Landlords as

‘Confidential’” and “[v]erbally inform[s] Landlords that Vertical Bridge’s offers are

‘confidential.’” Am. Compl. ¶ 39(d)-(e). Vertical Bridge does not allege that it enters into

NDAs with the landowners before making these offers. As explained above, Vertical Bridge

cannot unilaterally impose confidentiality requirements on landowners without their consent.

Without a nondisclosure agreement, the landowner has no obligation to keep Vertical Bridge’s

proposed rent terms confidential and is incentivized to use those terms to shop for a better deal.

       None of Vertical Bridge’s rent terms can be trade secrets whether or not the relevant VB

Contract includes a confidentiality provision.

       B.      The Rent Terms Are Not Trade Secrets Because They Are Readily Available
               Via Permissible Means.

       Like the original complaint, the amended complaint acknowledges that there are

“[l]egitimate tower aggregators” who buy landowners’ interests in ground leases—supposedly

based on an “estimation” of rent, without knowing the income stream they are buying. Am.

Compl. ¶ 48. Everest explained in its original motion to dismiss—and Vertical Bridge has never

disputed—that these legitimate tower aggregators end up getting the exact same trade secret

information as Everest when the rent checks come in post-closing. See ECF # 21 at 13–14; ECF

# 24 at 13. The amended complaint does not change these allegations, and no amendment could

ever cure this problem because it is uncurable. Vertical Bridge’s rent terms cannot be trade


                                                 14
        Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 20 of 32




secrets because they are “readily ascertainable through proper means by, another person.”

18 U.S.C. § 1839(3)(B); 12 Pa. Cons. Stat. § 5302.

       C.      Vertical Bridge’s Rent Terms Cannot Be Trade Secrets If They Were Not
               Developed Using Vertical Bridge’s “Confidential Formula.”

       The original complaint completely failed to acknowledge that most of the contracts

governing Everest-VB sites were inherited from third parties, meaning that the rent terms were

not developed by Vertical Bridge. The amended complaint acknowledges that fact, but offers

nothing more than the conclusory allegation that Vertical Bridge “purchases the trade-secret-

protected pricing terms and price structure information developed by the predecessor-in-

interest.” Am. Compl. ¶ 38. That does not cut it. For general, non-technical information, trade

secret status depends on whether the subject is “the product of time and effort and provides the

owner of the alleged trade secret with an independently-derived economic advantage over

competitors.” Nicolo v. Patterson Belknap Webb & Tyler, LLP, No. 2:13-cv-706, 2016 WL

5661737, at *3 (W.D. Pa. Sept. 30, 2016). 3 Vertical Bridge pleads zero information about how

the predecessors-in-interest developed these rent terms. Given that we are discussing contract

terms, the only plausible inference is that they are the product of an arms-length negotiation with

landowners. Vertical Bridge therefore failed to allege sufficient facts to support its claim that

these terms ever qualified as trade secrets in the first place; let alone that they remained so

through Vertical Bridge’s acquisition (despite being in the hands of third parties with every right


       3
           In contrast to the inherited VB Contracts, Vertical Bridge beefed up its allegations
regarding the rent terms in contracts that were originally negotiated by Vertical Bridge, alleging
that it “develops this trade secret-protected information on an individual-site basis with the help of
confidential formulae, pricing models and market analyses that it pays its own employees – as well
as outside contractors – to develop.” Am. Compl. ¶ 37. Everest reserves its rights to argue that
that is insufficient to establish a trade secret—and is skeptical that the rent terms in VB Contracts
are actually the product of Vertical Bridge’s “confidential formulae, pricing models, and market
analyses” rather than simply the result of haggling with landowners. However, for purposes of
this motion, Everest does not seek to dismiss the claims on those grounds.
                                                  15
        Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 21 of 32




to disclose them to whomever they wished). See page 12, supra.

       D.      If Any Trade Secret Claims Survive, The Landowners Must Be Joined As
               Necessary Parties Pursuant To FRCP 19.

       Vertical Bridge alleges that Everest “unlawfully” acquired the rent terms at issue from

Vertical Bridge’s landowners. Am. Compl. ¶¶ 96, 138. That means that to find Everest

misappropriated trade secrets, the Court must find that the landowners violated an enforceable

duty to withhold rent information—which is key to valuing the property—from Everest. That

raises serious concerns regarding due process for the landowners and the alienability of the

landowners’ property.

       The issue has real world consequences. For example, Vertical Bridge alleges that

because the owner of the Pierce site agreed to a confidentiality provision, it cannot sell its

property unless it finds a buyer willing to purchase it without knowing the income stream that

comes from the tower. ECF # 22 (Baltruzak Declaration) at Ex. 7. That could hurt the owner

two ways: (1) it necessarily shrinks the pool of buyers; and (2) a buyer who is willing to buy

with the rent amount unseen might pay less to account for the risk that the rent will be lower than

expected. But—stranger still—Vertical Bridge also alleges that the volunteer fire department

that owns another of the sites at issue was somehow bound to keep that critical valuation

information a secret even though the lease does not have a confidentiality provision. Id. at Ex.

1. Imagine the surprise of a landowner who refused to amend a lease to add a confidentiality

provision when Vertical Bridge took over the lease (see Am. Compl. ¶ 39(b)), but is now held to

one anyway in an out-of-state litigation where they had no opportunity to defend their interest.

       Before the Court can find any trade secrets in these contracts, it will have to do a careful

analysis of local contract and property law for each of the tower sites to assess whether and to

what extent landowners can be forced to maintain the secrecy of lease terms. And the Court


                                                 16
        Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 22 of 32




cannot do that in the landowners’ absence because they “claim[] an interest relating to the

subject of the action and [are] so situated that disposing of the action in [their] absence may . . .

as a practical matter impair or impede [their] ability to protect the interest.” Fed. R. Civ. P.

19(a)(1)(B)(i).

        This case cannot be heard without the landowners present for two independently

sufficient reasons: First, their contractual rights and duties are at issue in the litigation and

cannot be fairly determined in their absence. See Epsilon Energy, 80 F.4th at 233 (“ parties

owning rights under disputed contracts . . . generally have a legally protected interest under Rule

19(a)(1)(B)(i)”). Second, their fundamental property rights are at stake.

        For the avoidance of doubt, the court can (and should) dismiss Vertical Bridge’s claims

without the landowners being present. But to the extent that any trade secret claims survive this

motion (and they should not), the landowners must be joined pursuant to Rule 19(a)(1)(B)(i).

II. VERTICAL BRIDGE’S LANHAM ACT CLAIMS MUST BE DISMISSED

        Vertical Bridge’s Lanham Act claims continue to rely on an incomprehensible “scheme”

that is insufficient under the Lanham Act, and which Vertical Bridge does not allege ever

actually happened (in fact, Vertical Bridge effectively concedes it has not). The claim fails for at

least four independent reasons.

        A.        Vertical Bridge Fails To Allege Any “Description Of Fact” Or
                  “Representation Of Fact,” Let Alone A “False” One.

        The Lanham Act creates a false advertising claim against individuals who “in connection

with any goods or services . . . uses in commerce . . . false or misleading description of fact, or

false or misleading representation of fact.” 15 U.S.C. § 1125(a)(1) (emphasis added). After

being pressed on this point at oral argument, Vertical Bridge described Everest’s supposed offer

in the amended complaint:


                                                  17
        Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 23 of 32




       Everest’s offers to the Landlords frequently include a promise to pay the Landlord
       the greater of either (1) 50% of Everest’s revenue from any tenant—whether a
       tower infrastructure company tenant or telecom carrier subtenant—who occupies
       the premises following the expiration of the VB Contract or (2) $30,000 per year.

Am. Compl. ¶ 60 (emphasis removed). That “promise” does not include any “description of

fact” or “representation of fact,” as required to state a Lanham Act claim. Instead, it describes a

conditional offer of future performance.

       Elsewhere in the complaint, Vertical Bridge tries to confuse the reader by suggesting that

Everest makes “a future promise of revenue.” Id. ¶¶ 53, 61, 61(a), 62, 70. But those offhand

characterizations are squarely refuted by Vertical Bridge’s description of the alleged offer itself,

which is for the greater of a revenue share or a fixed amount ($30,000). Id. ¶ 60. In other words,

the landowners are allegedly offered an annual fee, and the terms of that offer are (by Vertical

Bridge’s own allegations) completely clear that the fee may come from Everest’s revenue from

subtenants or from Everest itself. And Vertical Bridge never alleges that Everest has ever failed

to deliver that fee to any landowner. There is nothing whatsoever misleading about Everest’s

alleged offer.

       Even if Vertical Bridge did allege that Everest represented to landowners that it would

have future tenant revenue to share, that would be a nonactionable prediction of a future event,

and the Lanham Act claim would still fail. Registered Agent Sols., Inc. v. Corp. Serv. Co., No.

1:21-cv-786-SB, 2022 WL 911253, at *5 (D. Del. Mar. 28, 2022) (quoting Eastman Chem. Co.

v. Plastipure, Inc., 775 F.3d 230, 235 (5th Cir. 2014) (“Predictions of future events are . . . non-

actionable expressions of opinion.”)).

       Vertical Bridge also alleges that because “Everest does not have any tenant leases in

place at the time it makes its offer,” it has “no reasonable basis” for its alleged “promises of

revenue share . . . rendering those promises illusory.” Am. Compl. ¶ 62. Aside from


                                                 18
        Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 24 of 32




mischaracterizing Vertical Bridge’s own description of the alleged offer, this is an attempt to

shift the statutory standard from what is required (a false representation or description of fact) to

something non-actionable (an “illusory promise”). See 15 U.S.C. § 1125(a)(1).

       Moreover, Vertical Bridge’s allegations make clear Everest’s alleged promise is not

“knowingly false.” Am. Compl. ¶ 73. The amended complaint alleges that Everest “knows” that

it “will have the opportunity” to obtain future tenant revenue—which directly contradicts the

allegation that Everest lacks a “reasonable basis” for its offer. Id. ¶ 59. Likewise the alleged

high cost of moving a tower (id. ¶ 67) makes it eminently reasonable for Everest to believe that

Vertical Bridge will renew the lease or transfer it to Everest rather than incurring the unnecessary

expense. 4 In short, Vertical Bridge’s own allegations tell us that Everest’s alleged promise is

predicated on a good faith, well-supported belief that there will be revenue to share.

       The Court can and should stop here. Vertical Bridge has not alleged a false “description

of fact” or “representation of fact.” It has not even alleged a misleading (but non-actionable)

promise of future performance. And Vertical Bridge cannot fix that with another amendment

because the actual offer that it has alleged contradicts any allegation that any statement by

Everest about future revenue was misleading.

       B.      Vertical Bridge Does Not Allege That The “Scheme” Has Ever Actually
               Happened.

       Vertical Bridge bases its Lanham Act claim on a so-called “scheme” (Am. Compl.

¶¶ 3-6, 11–12, 14, 19, 56, 68–70, 95), but it still does not allege that the “scheme” has ever

actually taken place. Vertical Bridge still has not alleged:




       4
        In fact, Vertical Bridge has renewed the lease on the Wis site. ECF #22 at Ex. 5.
Conversely, Vertical Bridge does not, and cannot, allege any real examples where it has
decommissioned its tower in such circumstances.
                                                 19
        Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 25 of 32




   •   An actual instance where Everest promised to share tenant revenue with a landowner
       resulting in:

       •   Everest’s actual acquisition of ground lease rights under a Vertical Bridge tower site,
           leading to:

           •   An actual instance where Vertical Bridge refused to renew the ground lease after
               Everest acquired such interest, resulting in:

               •   Vertical Bridge actually taking down its tower and leaving the site, but
                   without:

                   •   Everest building its own tower on the site, which finally results in:

                       •   A single actual instance where Everest had “no revenue to share” with
                           the landowner.

       The last three dominoes are particularly critical, and bear repeating: Vertical Bridge’s

claim makes no sense—even on a theoretical level—unless (i) Vertical Bridge relocates its tower

to a new site, taking its tower tenants with it and (ii) Everest does not build a new tower with

new tower tenants. That is the only way that (iii) Everest would not have revenue to share.

       In the original complaint, Vertical Bridge expressly pleaded Everest’s “scheme” in

hypothetical terms. See, e.g., Compl. ¶ 42 (“For illustrative purposes, an example of how this

scheme works includes (but is not limited to) the following . . . .”). Vertical Bridge has

eliminated some of its linguistic red flags, but its word choice still gives away the game. See

Am. Compl. ¶¶ 63–65 (“Under either scenario described above, Vertical Bridge will

decommission its Tower and abandon the site . . . once a VB Contract terminates and Vertical

Bridge decommissions its Tower, Tenants would be unable to continuing [sic] broadcasting from

the Tower and would terminate their leases with Everest, resulting in Everest having no revenue

to share with Landlords. . . . [T]he termination of VB Contracts and Vertical Bridge’s subsequent

decommissioning of its Towers would cause significant harm to Landlords.”) (emphases added).

Vertical Bridge has to plead the key “facts” in a future or hypothetical tense because this has


                                                20
        Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 26 of 32




never actually happened.

       As Everest explained in its previous motion to dismiss, it is not clear whether Rule 9’s

heightened pleading standard applies to Lanham Act false advertising claims, 5 but it makes no

difference for these purposes because even Rule 8 requires a plaintiff to plead that the facts

complained of actually happened. Vertical Bridge has now had two bites at the apple, and it still

cannot meet even that standard for a simple reason: No landowner has ever been left without a

revenue share because Vertical Bridge moved its tower and Everest declined to build its own. 6

The claim should now be dismissed with prejudice.

       C.      Vertical Bridge’s Own Allegations Confirm That Everest’s Alleged
               Contractual Duties Are Not “Knowingly False.”

       Why can’t Vertical Bridge allege that the “scheme” has actually taken place? Because it

is impossible. The Lanham Act claim is full of irredeemable contradictions. If anything, the

amendment made things worse.

       Everest explained in the first round of motion to dismiss briefing that it makes no sense to

claim that Everest agrees to pay a “substantial” sum up front and monthly rental payments “five-

to-ten times higher” than the existing rate in support of a “knowingly false” promise to share

revenue. Am. Compl. ¶¶ 57–58, 73. 7 It would be irrational for someone to pay that much



       5
           Compare Registered Agent Solutions, 2022 WL 911253, at *2 (requiring Lanham Act
plaintiff to “inject precision . . . by providing the date, place or time of the fraud, and by stating
who made the misrepresentation to whom and its general content”) (cleaned up) with Max
Daetwyler Corp. v. Input Graphics, Inc., 608 F. Supp. 1549, 1556 (E.D. Pa. 1985) (applying
intermediate standard because where a party “is charged with making false statements, it is
important that the party charged be provided with sufficiently detailed allegations regarding the
nature of the alleged falsehoods to allow him to make a proper defense”).
        6
           Even in that case, Everest’s promise would still not be “false” because, according to
Vertical Bridge, the landowner would still be entitled to $30,000 per year. Am. Compl. ¶ 60.
        7
          Nor does it make any sense to allege that Everest is only able to “craft an offer” of five-
to-ten times the market rate (“knowing” that it would never earn revenue) because of the “trade
secrets” it supposedly misappropriated. Am. Compl. ¶¶ 57–58, 73. If an entity was foolish enough
                                                 21
        Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 27 of 32




money “knowing” that there will be no return. To the contrary; the allegations support that any

contractual obligation Everest undertakes is based on a good faith belief that it will see a return

on its investment (and therefore have revenue to share with landowners). Iqbal, 556 U.S. at 678

(to have facial plausibility, a plaintiff must plead “factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.”).

       When pressed at oral argument, Vertical Bridge’s counsel destroyed the “knowingly

false” allegations by explaining that Everest pays for leasing rights in “an attempt to drive up

[Everest’s] market share.” 1/9/24 Hr’g Tr. at 36:20. Under the facts alleged, there is no way for

Everest to increase its market share without also producing revenue that can be shared with

landowners (which then defeats the Lanham Act claim because the promise cannot be false).

       The amended complaint further clarifies the point: We are told that Everest engages in

the alleged conduct “because Everest knows that . . . Everest will have the opportunity to

substantially increase Vertical Bridge’s rent payments, thereby recouping its initial payment to

the Landlord and earning excess revenue if Vertical Bridge remains at the site” and “[i]n the

event that Vertical Bridge does not remain at the site, Everest can attempt to take over Vertical

Bridge’s relationships with its Tenants remaining at the site.” Am. Compl. ¶ 59 (emphasis

added). In either situation, Everest will have revenue to share with the landowner. That is

reinforced by paragraph 61 of the amended complaint, which lays out “two scenarios” into which

Everest “attempts to force Vertical Bridge”: (i) Everest succeeds Vertical Bridge as tower

operator and hosts subtenants on the tower (revenue to share) or (ii) Vertical Bridge retains its

tower and pays increased rent to Everest (also revenue to share). Id. ¶ 61. This is fatal, and any




to make such an irrational investment, with no hope of seeing a return, it could throw its money
away without finding out the current rent.
                                                 22
        Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 28 of 32




amendment would be futile because Vertical Bridge cannot erase what it has already pleaded.

       At the risk of beating the proverbial dead horse: The only reason for Everest to do what

Vertical Bridge claims is if it believes that there will be revenue to share. Vertical Bridge claims

that it “has suffered . . . damages in the form of lost market share” and “lost Tower sites.” Id.

¶ 78; see also ¶ 69 (“Everest’s scheme has resulted, and continues to result, in injury to Vertical

Bridge, including but not limited to loss of market share . . . .”). But that allegation only makes

sense in a scenario where Everest has profits to share (in which case the contractual duty to share

revenue is not “false”).

       Below are the only three outcomes of the “scheme” that are supported by the Amended

Complaint. See id. ¶¶ 61, 63. And, as illustrated, there is no scenario where Vertical Bridge

loses market share and Everest does not have tenant revenue to share with landowners (setting

aside the promised $30,000 minimum payment).

                                                Everest has no tenant       Vertical Bridge loses
            Outcome of “scheme”
                                                  revenue to share             market share
 Vertical Bridge decommissions tower,                                                 ✓
 and Everest builds its own tower
 Vertical Bridge stays on the site and
 renews VB Contract
 Vertical Bridge moves tower and
                                                           ✓
 Everest chooses not to build its own
 tower

       In order to plausibly allege a “scheme” where Everest’s revenue sharing promise to

landlords is false, Vertical Bridge would need to plead an outcome of the scheme where there is

a checkmark in both columns, which it cannot do. The Lanham Act claim can never be fixed.

       D.      Vertical Bridge Still Does Not Allege Any False Statements In Connection
               With Goods Or Services.

       Vertical Bridge attempted to address the Court’s concerns (1/9/24 Hr’g Tr. at 48:4–11) by


                                                 23
        Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 29 of 32




identifying supposed “services” at issue, (Am. Compl. ¶ 46), but they all boil down to the

acquisition of real property rights, which is not a good or service under the Lanham Act. Dille

Fam. Tr., 2016 WL 7202073, at *1 n.1 (“intangible property rights . . . are not ‘goods and

services’ for Lanham Act purposes.”)).

       Vertical Bridge fails to support its conclusory allegations with facts. It has not identified

any contracts under which Everest provides services, it has not identified any actual services

rendered, and it has not identified any recipients of any purported services, but continues to make

vague and conclusory allegations like “Everest knowingly makes misrepresentations and/or

omissions to Landlords regarding its own and Vertical Bridge’s services and commercial

activities through offer letters and marketing brochures.” Am. Compl. ¶ 68.

III. VERTICAL BRIDGE’S STATE LAW CLAIMS MUST BE DISMISSED BECAUSE
     THEY ARE PREDICATED ON ITS TRADE SECRET AND LANHAM ACT CLAIMS
       Vertical Bridge did not materially amend any of its remaining claims or add any

additional facts to support them. Thus, as in the original complaint, Vertical Bridge’s state law

claims are still predicated on the same alleged conduct as the trade secret misappropriation

and/or Lanham Act claims, and rely on the merits of those claims—and therefore must be

dismissed for the reasons explained above. See ECF # 33 at ¶ 2 (describing the general nature of

the case as “Plaintiff alleges violations of the Lanham Act (False Advertising), the Federal

Defend Trade Secrets Act, and related state-law claims.”).

           •   Unjust Enrichment (Count IV): Relies on an allegation that “Everest
               appreciated the benefit of Vertical Bridge’s confidential information,” and that
               “[t]he circumstances are such that it would be inequitable for Everest to retain the
               benefit of the use of Vertical Bridge’s confidential pricing terms.” Am. Compl.
               ¶¶ 117, 119.
           •   Tortious Interference with Existing and Prospective Contractual Relations
               (Counts V and VI): Rely on allegations that Everest intentionally interferes with
               the existing and prospective contractual relationships between Vertical Bridge and
               its landowners by “induc[ing] the Landlords to disclose Vertical Bridge’s
               confidential pricing terms,” (id. ¶ 123), “using the wrongfully obtained

                                                24
        Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 30 of 32




                confidential information to negotiate with Vertical Bridge’s Landlords,” (id.
                ¶ 139), “present[ing] Landlords with non-bona fide purchase offers,” (id. ¶ 126),
                and “making misrepresentations to Landlords regarding its own and Vertical
                Bridge’s services and commercial activities in order to induce the Landlords to
                enter into contracts with it” (id. ¶ 141).
            •   Unfair Competition (Count VII): Relies on allegations that “Everest uses . . .
                Vertical Bridge’s confidential information and trade secret-protected information
                in order to gain an unfair competitive advantage over Vertical Bridge,” (id.
                ¶ 151), and “uses . . . Vertical Bridge’s confidential information and trade secret
                protected information to interfere with existing and prospective VB Contracts”
                (id. ¶ 152).

        Because all of these claims rely on Vertical Bridge’s trade secret misappropriation and/or

Lanham Act claims, they “rise or fall” with those underlying claims, and must be dismissed for

the same reasons set out in sections I and II. Whitaker v. Herr Foods, Inc., 198 F. Supp. 3d 476,

493 (E.D. Pa. 2016) (dismissing unjust enrichment claim where underlying tort claim was

dismissed); see also Pittsburgh Logistics Sys., Inc. v. Cox Logistics LLC, No. 20-817, 2021 WL

811394, at *7 (W.D. Pa. Mar. 3, 2021) (dismissing unjust enrichment claim where it was

premised on inadequately pled violation of a restrictive covenant); Shire US, Inc. v. Allergan,

Inc., 375 F. Supp. 3d 538, 558 (D.N.J. 2019) (dismissing tortious interference claim premised on

insufficiently alleged anticompetitive activity); Hirtle Callaghan Holdings, Inc. v. Thompson,

No. 18-2322, 2022 WL 2048656, at *8 (E.D. Pa. June 7, 2022) (dismissing unfair competition

claim where it was premised on underlying claims that were dismissed).

                                          CONCLUSION

        Vertical Bridge’s attempt to fix its complaint only highlights that it never had any claims

against Everest in the first place; this litigation is no more than a baseless attempt to chill

competitive conduct (at the expense of the landowners, whom Vertical Bridge wants to keep in

the dark about the true rental value of their property). The Court should dismiss all of its claims

with prejudice pursuant to Rules 12(b)(6) and 12(b)(7).


                                                  25
       Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 31 of 32




Dated: March 6, 2024                    Respectfully submitted:



                                        /s/ Andrew R. Stanton
                                        JONES DAY
                                        Andrew R. Stanton (Pa. 93409)
                                        Jeffrey Baltruzak (Pa. 318156)
                                        Susan Kessler (Pa. 322558)
                                        500 Grant Street, Suite 4500
                                        Pittsburgh, Pennsylvania 15219
                                        (412) 391-3939
                                        astanton@jonesday.com
                                        jbaltruzak@jonesday.com
                                        skessler@jonesday.com

                                        Attorneys for Defendants Everest
                                        Infrastructure Partners, Inc. and EIP
                                        Holdings II, LLC
       Case 2:23-cv-01017-WSH Document 41 Filed 03/06/24 Page 32 of 32




                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Memorandum of Law in Support of Everest’s Motion

to Dismiss the Amended Complaint was served on counsel of record via the United States

District Court for the Western District of Pennsylvania’s CM/ECF system.




                                                     /s/ Andrew R. Stanton
                                                     Attorney for Defendants Everest
                                                     Infrastructure Partners, Inc. and EIP
                                                     Holdings II, LLC
